Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14741 Filed 09/30/09 Page 1 of 31


                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


 RYAN C. HENRY, individually and on
 behalf of similarly situated employees,                Case No. 2:04-cv-40346

              Plaintiffs,                               HONORABLE STEPHEN J. MURPHY, III

 v.

 QUICKEN LOANS INC., a Michigan
 corporation, and DANIEL B. GILBERT,
 personally and individually,

              Defendants.
                                             /


     ORDER OVERRULING OBJECTIONS AND AFFIRMING ORDER GRANTING
   PLAINTIFFS' MOTION TO STRIKE UNDISCLOSED WITNESS STATEMENTS AND
   ORDER GRANTING IN PART PLAINTIFFS' MOTION TO EXCLUDE DEFENDANTS'
      EXPERT REPORT (D/E 530), AFFIRMING AND ADOPTING REPORT AND
   RECOMMENDATION DENYING PLAINTIFFS' MOTION FOR PARTIAL SUMMARY
    JUDGMENT ON LIABILITY AND GRANTING IN PART AND DENYING IN PART
   DEFENDANTS' MOTION FOR SUMMARY JUDGMENT ON THE MERITS (D/E 556)
  AND AFFIRMING AND ADOPTING REPORT AND RECOMMENDATION GRANTING
     IN PART AND DENYING IN PART DEFENDANTS’ MOTION FOR SUMMARY
  JUDGMENT ON GOOD FAITH DEFENSES AND LACK OF WILLFULNESS (D/E 555)

          This is a Fair Labor Standards Act (“FLSA”) overtime collective action brought under

 29 U.S.C. § 201 et seq., involving approximately 415 plaintiffs1 who worked as “mortgage

 bankers” for defendants Quicken Loans Inc. (“Quicken Loans”) and Daniel B. Gilbert.

 Before the Court are five separate motions resulting in an order and two reports and

 recommendations by the magistrate judge, and objections by the parties to the order and

 to both reports and recommendations. Specifically before the Court are defendants'

 objections (docket entry 534) to an order by Magistrate Judge Pepe (docket entry 530)

 granting plaintiffs' motion to strike (docket entry 464) and granting in part plaintiffs' motion



      1
          See D/E 560 at p.1.
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14742 Filed 09/30/09 Page 2 of 31


 to exclude the defendants' expert report (docket entry 465). Also before the Court are

 objections by both the plaintiffs (docket entry 561) and the defendants (docket entry 559)

 to a report and recommendation by the magistrate judge (docket entry 555) granting in part

 and denying in part defendants' motion for summary judgment on good faith defenses and

 lack of willfulness (docket entry 436). Finally, there are objections both by plaintiffs (docket

 entry 562) and by defendants (docket entry 560) to the magistrate judge's report and

 recommendation (docket entry 556) denying plaintiffs' motion for partial summary judgment

 on liability (docket entry 432) and granting in part and denying in part defendants' motion

 for summary judgment on the merits (docket entry 434).

      The Court has reviewed the order, the reports and recommendations, the various

 objections, the relevant transcripts on the record, and all briefs and submissions by the

 parties, and is now ready to rule. For the reasons set forth below, the Court affirms the

 magistrate judge's order granting plaintiff's motion to strike undisclosed witness statements

 and granting in part plaintiffs' motion to exclude (docket entry 530); affirms and adopts the

 magistrate judge's report and recommendation denying plaintiffs' motion for partial

 summary judgment on liability and granting in part and denying in part defendants' motion

 for summary judgment on the merits (docket entry 556), and affirms and adopts the

 magistrate judge's report and recommendation granting in part and denying in part

 defendants' motion for summary judgment on good faith defenses and lack of willfulness

 (docket entry 555).

                                  STANDARD OF REVIEW

      An order by a magistrate judge determining any pretrial matter referred to the

 magistrate under 28 U.S.C.§ 636(b)(1)(A) must be reconsidered by a district court judge

 if the magistrate judge's order is clearly erroneous or contrary to law.            28 U.S.C.


                                                2
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14743 Filed 09/30/09 Page 3 of 31


 §636(b)(1)(A); Fed. R. Civ. P. 72(a). Here, the defendants challenge the magistrate judge's

 legal conclusions, and therefore this Court reviews the Order under a de novo standard of

 review.

        A district court’s standard of review for a magistrate judge’s report and

 recommendation under 28 U.S.C. § 636(b)(1)(B) depends upon whether a party files

 objections. With respect to portions of a Report and Recommendation that no party has

 objected to, the Court need not undertake any review at all. Thomas v. Arn, 474 U.S. 140,

 150 (1985). On the other hand, Federal Rule of Civil Procedure 72(b)(3) provides that the

 Court “must determine de novo any part of the magistrate judge’s disposition that has been

 properly objected to. The district judge may accept, reject, or modify the recommended

 disposition; receive further evidence; or return the matter to the magistrate judge with

 instructions.” Fed. R. Civ. P. 72(b)(3). De novo review requires the district court to consider

 the record that has been developed before the magistrate and to make its own

 determinations on the basis of the record, without in any way being bound by the

 magistrate judge's findings. United States v. Raddatz, 447 U.S. 667, 675 (1980). "Issues

 raised for the first time in objections to the magistrate judge's recommendation are deemed

 waived," Marshall v. Chater, 75 F.3d 1421, 1426 (10th Cir. 1996); Ward v. United States,

 No. 98-1872, 208 F.3d 216 (6th Cir. Mar. 13, 2000) (Table, text in WESTLAW), and will not

 be considered by the Court.

                                            FACTS

        The relevant facts are set forth in the Order at docket number 530 and in the reports

 and recommendations at docket numbers 555 and 556.2 Briefly, the plaintiffs worked as


    2
       The defendants argue that the recitation of facts in the reports and
 recommendations largely recite the evidence offered by the plaintiffs in support of their
 motion for partial summary judgment and in opposition to the defendants' motion for

                                               3
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14744 Filed 09/30/09 Page 4 of 31


 "mortgage loan consultants" or "mortgage bankers" in defendants' "call center" or "web

 center." It is undisputed that the Quicken mortgage bankers routinely worked in excess of

 40 hours per week and that they were not paid overtime compensation for hours worked

 in excess of 40 hours per week. The defendants assert that the plaintiffs were not entitled

 to overtime compensation because they fell under the "administrative exemption" to the

 FLSA due to the nature of the mortgage banker job, which they characterize as "financial

 services." The plaintiffs assert that the mortgage bankers' jobs do not fall under the

 administrative exemption because the primary duty of the mortgage bankers involves the

 sale of mortgages and because the mortgage bankers' duties do not require the exercise

 of independent judgment and discretion.

      The plaintiffs have submitted evidence that they argue evidences the "primary duty"

 of the mortgage bankers as sales. See generally, Report and Recommendation at docket

 number 556, pages 3-14. The evidence includes the compensation structure of the

 mortgage bankers, their training, and the defendants' repeated exhortation of the mortgage

 bankers to "sell, sell, sell."   Id. The plaintiffs have also submitted evidence that, they


 summary judgment on the merits, and fail to recite in detail the voluminous record
 submitted by the defendants in support of their motions for summary judgment and in
 opposition to the plaintiffs' motion for summary judgment, which includes about 22
 declarations, excerpts from some 10 depositions and various government and internal
 corporate documents, totaling more than 1000 pages in exhibits to their various objections,
 as well as the 97 page expert report of Dr. Cohen, all exhibits to that report, and Dr.
 Cohen's deposition. But the Court is not to list or weigh the evidence offered by the parties
 in determining whether to grant summary judgment, but rather to determine whether the
 opposing party has met its burden of coming forward with evidence showing a genuine
 issue of material fact as to each element of each claim or defense. Recitation of each and
 every piece of evidence offered by the defendants is unnecessary to determine whether
 the plaintiffs have met their burden of coming forward with evidence showing genuine
 issues of fact for trial, and would merely further add to the mountains of paper that have
 been filed to date in this matter. The Court assuredly has reviewed all the submissions of
 all parties and all relevant portions of the record and has considered all (except for those
 that were properly stricken) in deciding the pending motions.


                                               4
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14745 Filed 09/30/09 Page 5 of 31


 argue, shows the mortgage bankers' jobs were dictated by the defendants' sophisticated

 computer programs, guidelines and policies and procedures, and that therefore, they did

 not exercise the kind of discretion and independent judgment in performing their job duties

 required for application of the administrative exemption. The plaintiffs have submitted

 evidence tending to show that the mortgage bankers were required to follow a detailed

 script called "The Sales Process" in every call, and that the mortgage bankers used

 sophisticated computer programs that, plaintiffs assert, essentially "chose" the client's

 mortgage. See generally, Exhibit 42 to Plaintiffs' Motion for Summary Judgment on Liability

 (docket number 432) (Plaintiffs' declarations).   The plaintiffs argue that the use of The

 Sales Process, along with the advanced computer programs used by the plaintiffs,

 essentially stripped the plaintiffs of discretion and independent judgment.

      The defendants, on the other hand, argue that the evidence shows as a matter of law

 that the nature of the mortgage banker job meets the administrative exemption because

 the mortgage bankers primarily perform "financial services" duties, which are identified as

 exempt in 29 C.F.R. § 541.203(b). The defendants have submitted numerous declarations

 setting forth facts showing that the duties of the mortgage bankers include collecting and

 analyzing information regarding the customer's income, asset and debts, determining which

 mortgage products best meet the customers's needs, advising the customer about the

 advantages and disadvantages of different mortgages, and marketing the various Quicken

 mortgage products to its clients. See generally Exhibits A through H at docket number 558.

  The defendants' declarations assert facts that tend to show that the Quicken computer

 programs and procedures do not eliminate the need for mortgage bankers to exercise

 discretion and independent judgment, and that the mortgage brokers choose the mortgage

 products to recommend to the clients, not the computer programs. See id.


                                             5
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14746 Filed 09/30/09 Page 6 of 31


                                          ANALYSIS

 I.   Order Granting Plaintiffs' Motion to Strike Undisclosed Witness Statements and
      granting in Part Plaintiffs' Motion to Exclude Defendants' Expert Report (dkt.530)

      The plaintiffs filed a motion to strike undisclosed witness statements and a motion to

 exclude defendants' expert reports. These motions were referred to the magistrate judge

 for hearing and determination pursuant to 28 U.S.C. § 636(b)(1)(A). Following hearing, the

 magistrate judge issued an order dated September 30, 2008 granting the plaintiffs' motion

 to strike undisclosed witness statements and granting in part the plaintiffs' motion to

 exclude the defendants' expert report. In his order, the magistrate judge struck (1) the

 declarations of six individuals who were not named on defendants' preliminary witness list

 of January 17, 2006 or otherwise disclosed in answers to interrogatories during fact

 discovery, and (2) 122 sworn job duties statements from current employees that were

 gathered as data in support of defendants' expert reports, where the employees signing the

 statements were not identified in defendants' original or supplemental responses to

 interrogatories and where the statements were not produced in response to plaintiffs'

 request for "[a]ll statements of witnesses or potential witnesses or persons interviewed in

 connection with this case . . ." The magistrate judge also found that the expert opinion

 outlined in the expert report of Dr. Malcolm S. Cohen (1) constituted a legal conclusion on

 the ultimate issue in the case that was properly to be decided by the Court and/or the jury

 and (2) did not sufficiently assist the trier of fact to understand the evidence or determine

 the ultimate fact in issue, and therefore issued an order limiting the use of the expert report

 for purposes of the pending summary judgment motions and future trial.

      The defendants have filed objections to the September 30, 2008 order granting

 plaintiffs' motion to strike and granting in part plaintiffs' motion to exclude defendants'

 expert report, arguing that the magistrate judge erred in granting both motions. The Court

                                               6
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14747 Filed 09/30/09 Page 7 of 31


 has reviewed the briefs and the relevant record and holds that the magistrate judge did not

 err in granting the motions and will therefore overrule defendants' objections.

          A. Defendants' Objections to Order Granting Plaintiffs' Motion to Strike

      Defendants make several objections to the portion of the magistrate's order striking

 the 122 sworn job duties and six declarations. They argue that by treating the 122

 statements as "run of the mill declarations" the magistrate judge overlooked the important

 statistical function that these statements, which were generated at Dr. Cohen's request and

 with his extensive involvement, fulfilled in Dr. Cohen's occupational analysis of the

 mortgage brokers. They argue that the order fails to cite any applicable legal authority in

 finding that the statements should have been produced during fact discovery. They argue

 that the magistrate judge considered and credited plaintiffs' vague declarations with no

 mention of defendants more specific declarations and that his order imposed an unduly

 harsh penalty on the plaintiffs where a much more appropriate and less draconian remedy

 was available.

      The Court finds these objections to be without merit. Rule 37(c)(1) of the Federal

 Rules of Civil Procedure permits the Court to exclude evidence that a party was required

 to disclose under Rule 26(a) or (e), unless the party was substantially justified in failing to

 disclose the evidence or the failure was harmless. The magistrate judge's conclusion that

 the 122 sworn job statement were fact discovery, and therefore should have been

 disclosed prior to the deadline for fact discovery, was not clearly erroneous or contrary to

 law. As to the magistrate judge's exclusion of the six declarants that were not identified

 prior to the close of fact discovery, the Court is not persuaded by defendants' argument that

 the six declarants were known to the plaintiffs because they were included on the class

 notice list which included approximately 3100 current and former loan consultants. The


                                               7
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14748 Filed 09/30/09 Page 8 of 31


 Court is also persuaded that the magistrate judge correctly held that the fact that the

 plaintiffs had not deposed any mortgage bankers prior to the close of discovery was not

 sufficient to show a complete lack of prejudice to the plaintiff from the failure to disclose the

 six declarants prior to the close of fact discovery. In sum, the Court finds that the

 magistrate judge properly applied Rule 37(c)(1) of the Federal Rules of Civil Procedure in

 granting plaintiffs' motion to strike.

          B. Defendants' Objections to Order Granting In Part
             Plaintiffs' Motion to Exclude Defendants' Expert Report

      As to the portion of the Order limiting the use of some of the testimony of defendants'

 expert Malcolm S. Cohen, Ph.D., on the grounds that his opinion contained impermissible

 legal conclusions and would not assist the trier of fact, the defendants object that the

 magistrate judge's ruling is contrary to law and that it was based on a mistaken and unduly

 narrow view of the permissible scope of expert testimony under the Federal Rules of

 Evidence. The defendants also object that the basis on which the magistrate granted the

 motion, i.e., that Dr. Cohen's opinion would not assist the trier of fact and impermissibly

 opined on the ultimate legal issue, was not argued by the plaintiffs in their opening brief and

 was therefore waived.

      The Court finds these objections to be without merit. First, defendants' objection that

 the precise grounds for excluding Dr. Cohen's opinion was not raised by the plaintiffs until

 their reply, and the syllogism used by the magistrate judge to explain his reasoning was not

 discussed until the hearing, and therefore it is fundamentally unfair to exclude the opinion,

 is not well taken. The Sixth Circuit has held that a Court may sua sponte exclude evidence

 that does not comport with evidentiary rules or is otherwise improper. HDM Flugservice

 GmbH v. Parker Hannifin Corp., 332 F.3d 1025, 1034 (6th Cir. 2003); see also Dugan v.

 R.J. Corman R. Co., 344 F.3d 662, 670 (7th Cir. 2003) ("even in an adversarial system the

                                                8
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14749 Filed 09/30/09 Page 9 of 31


 judge is not merely an umpire" and has duty to secure the basic accuracy of the litigation

 process). It follows that it is not error for a Court to exclude evidence based on arguments

 raised in a reply brief, or even those raised by the Court in a hearing on the matter, if the

 Court is persuaded that the proffered evidence is improper. The objection is therefore

 overruled.

      Defendants' second objection to the order limiting the use of Dr. Cohen's testimony

 is that the magistrate judge's ruling is based on a mistaken and unduly narrow view of the

 permissible scope of expert testimony under the Federal Rules of Evidence.              The

 defendants argue that the magistrate judge erred in holding that Dr. Cohen's testimony was

 an inadmissible legal conclusion. The defendants point to Federal Evidence Rule 704(a)

 which states that "testimony in the form of an opinion or inference otherwise admissible is

 not objectionable because it embraces an ultimate issue to be decided by the jury." The

 defendants also argue that the magistrate erred in excluding the evidence as not assisting

 the trier of fact because, they argue, expert testimony is admissible "so long as it even

 marginally advances the jury's understanding of the facts by providing additional context

 or otherwise, and any doubts must be resolved in favor of admissibility." Reply at 3.

      The Court has reviewed the record and the authorities cited by the defendants in this

 regard and finds that the magistrate judge correctly applied the law in excluding testimony

 of Dr. Cohen. The magistrate judge correctly concluded that, insofar as Dr. Cohen would

 testify that the job functions of mortgage brokers was the same or similar as those of loan

 officers classified in the Standard Occupational Classification ("SOC") who have "financial

 services [as] the principle component" of their occupation, and the same or similar as those

 classified in the Department of Labor's Occupational Informational Network ("O*NET") "who

 spend the majority of their time engaged in work activities such as 'making decisions and


                                              9
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14750 Filed 09/30/09 Page 10 of 31


  solving problems,' 'processing information,' 'analyzing data or information,' 'performing for

  or working directly with the public,' 'providing customer service,' and 'getting information'

  in contrast to lesser functions of 'selling or influencing others,'" this conclusion was properly

  excluded as a legal conclusion on the ultimate issue of the case that is properly to be

  decided by the court and/or jury. The magistrate judge properly excluded the opinion under

  Fed. R. Evid. 702 because "[e]xpert testimony is not admissible if it does no more than tell

  the finder of fact what conclusions to reach." Weinstein's Federal Evidence, § 702.03.

       The magistrate judge also correctly excluded the Cohen Report on the grounds that

  it is based largely on evidence that could be reviewed and understood by the trier of fact,

  including review of company documents describing mortgage banker duties, review of

  emails of plaintiffs and company managers, analysis of DOL pronouncements regarding

  mortgage bankers, review of the standard job characteristics of mortgage bankers set forth

  in the O*NET and SOC systems; a review of depositions of plaintiffs and representatives

  of Quicken Loans, and a study of the expert reports regarding damages proffered by the

  plaintiffs. There were two extra sources for Dr. Cohen's report: the 122 sworn job duties

  statements, which, as discussed above were correctly stricken by the magistrate judge, and

  six on-site interviews and six observations of demonstrations of the technology used by

  mortgage bankers. The magistrate judge correctly concluded that these six interviews and

  six observations constituted just a small part of the study and therefore did not make the

  report helpful to the trier of fact. The magistrate judge found that Dr. Cohen could properly

  describe his observations and possibly the interviews at trial without invading the province

  of the Court but could not testify to any conclusions about the primary duties of the

  mortgage bankers without invading the province of the Court. This Court finds that the




                                                 10
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14751 Filed 09/30/09 Page 11 of 31


  magistrate judge was correct in so holding and will therefore overrule the objections and

  affirm the order granting in part plaintiffs' motion to exclude.

  II.   Report and Recommendation Denying Plaintiffs' Motion for Partial
        Summary Judgment on Liability and Granting In Part and Denying In Part
        Defendants' Motion For Summary Judgment on the Merits (Docket Entry 556)

        The plaintiffs and the defendants have each moved for summary judgment on liability,

  and each of these motions were referred to the magistrate judge for a report and

  recommendation pursuant to 28 U.S.C. § 636(b)(1)(B). In his report and recommendation

  on these motions, the magistrate judge recommended that plaintiffs' motion for summary

  judgment be denied and that defendants' motion for summary judgment be granted in part

  and denied in part. The report and recommendation correctly noted that, under the FLSA

  and interpretive regulations, overtime requirements do not apply to "any employee

  employed in a bona fide ... administrative ... capacity," 29 U.S.C. § 213(a)(1) and that "[a]n

  employee qualifies for this exemption if (a) s/he meets the salary basis test and minimum

  compensation; (b) his/her "primary duty" is the performance of office or non-manual work

  directly related to management policies or general business operations of the employer or

  the employer's customers; and ([c]) such primary duty includes work requiring the exercise

  of discretion and independent judgment. See 29 C.F.R. § 541.200."                Report and

  Recommendation at Docket entry 556 ("Merits R&R"), p. 23.

        The magistrate judge found that the mortgage banker jobs at issue met, as a matter

  of law, the first prong of the administrative exemption, the salary basis test and minimum

  compensation, and recommended that summary judgment be granted defendants as to this

  element. As for the second prong, which requires that the "primary duty" of the employees

  is to perform non-manual work directly related to management policies or general business

  operations of the employer or its customers, the magistrate judge recommended that


                                                11
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14752 Filed 09/30/09 Page 12 of 31


  summary judgment be denied to both the plaintiffs and the defendants because genuine

  issues of material fact remain as to the nature and extent of the particular duties and

  responsibilities of the mortgage bankers. Merits R&R at 42-43. As for the third prong, the

  "discretion and independent judgment" test, the magistrate judge concluded that the facts

  in the record are in conflict and genuine issues of material fact remained as to whether the

  mortgage bankers' work required the exercise of discretion and independent judgment

  within the meaning of the statute and the regulations, and therefore recommended that

  summary judgment be denied to both parties on this element as well. The plaintiffs and the

  defendants have both objected to the Merits R&R on various grounds that will be discussed

  below.

       A. Summary Judgment Standard

       Rule 56(c) of the Federal Rules of Civil Procedure provides that summary judgment

  “should be rendered if the pleadings, the discovery and disclosure materials on file, and any

  affidavits show that there is no genuine issue as to any material fact and that the movant

  is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). Summary judgment is

  appropriate if the moving party demonstrates that there is no genuine issue of material fact

  regarding the existence of an essential element of the nonmoving party's case on which the

  nonmoving party would bear the burden of proof at trial. Celotex Corp. v. Catrett, 477 U.S.

  317, 322 (1986); Martin v. Ohio Turnpike Comm’n, 968 F.2d 606, 608 (6th Cir.1992).

       In considering a motion for summary judgment, the Court must view the facts and

  draw all reasonable inferences in a light most favorable to the nonmoving party. 60 Ivy St.

  Corp. v. Alexander, 822 F.2d 1432, 1435 (6th Cir.1987). The Court is not required or

  permitted, however, to judge the evidence or make findings of fact. Id. at 1435-36. The




                                               12
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14753 Filed 09/30/09 Page 13 of 31


  moving party has the burden of showing conclusively that no genuine issue of material fact

  exists. Id. at 1435.

       A fact is “material” for purposes of summary judgment if proof of that fact would have

  the effect of establishing or refuting an essential element of the cause of action or a

  defense advanced by the parties. Kendall v. Hoover Co., 751 F.2d 171, 174 (6th Cir.1984).

  A dispute over a material fact is genuine “if the evidence is such that a reasonable jury

  could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S.

  242, 248 (1986). Accordingly, when a reasonable jury could not find that the nonmoving

  party is entitled to a verdict, there is no genuine issue for trial and summary judgment is

  appropriate. Id.; Feliciano v. City of Cleveland, 988 F.2d 649, 654 (6th Cir.1993).

       Once the moving party carries the initial burden of demonstrating that there are no

  genuine issues of material fact in dispute, the burden shifts to the nonmoving party to

  present specific facts to prove that there is a genuine issue for trial. Anderson, 477 U.S. at

  256. To create a genuine issue of material fact, the nonmoving party must present more

  than just some evidence of a disputed issue. Matsushita Elec. Indus. Co., Ltd. v. Zenith

  Radio Corp., 475 U.S. 574, 586-87 (1986). As the United States Supreme Court has stated,

  “there is no issue for trial unless there is sufficient evidence favoring the nonmoving party

  for a jury to return a verdict for that party. If the [nonmoving party's] evidence is merely

  colorable, or is not significantly probative, summary judgment may be granted.” Anderson,

  477 U.S. at 249-50 (citations omitted); see Celotex, 477 U.S. at 322-23; Matsushita, 475

  U.S. at 586-87.

       Consequently, the nonmoving party must do more than raise some doubt as to the

  existence of a fact; the nonmoving party must produce evidence that would be sufficient

  to require submission of the issue to the jury. “The mere existence of a scintilla of evidence


                                               13
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14754 Filed 09/30/09 Page 14 of 31


  in support of the plaintiff's position will be insufficient; there must be evidence on which the

  jury could reasonably find for the plaintiff.” Anderson, 477 U.S. at 252; see Cox v. Ky. Dep’t

  of Transp., 53 F.3d 146, 150 (6th Cir.1995).

       B. Plaintiffs' Objections to the Merits R&R

       The plaintiffs have objected to the failure of the Merits R&R to recommend summary

  judgment in plaintiffs' favor on both the second prong and the third prong of the

  administrative exemption test. The plaintiffs argue that summary judgment should have

  been entered in their favor because the defendants have the burden of establishing each

  element of the administrative exemption and because the evidence in the record

  overwhelmingly established both the "sales" nature of the mortgage bankers' job and the

  lack of independent judgment and discretion required by the job.

       The plaintiff's objections fail to persuade the Court that the summary judgment should

  be granted.    The plaintiffs argue that they have produced voluminous documentary

  evidence showing that the primary duty of the mortgage bankers was "sales" and that all

  defendants have to counter the volume of plaintiffs' evidence that the primary duty of the

  mortgage bankers is sales are documents crafted with litigation in mind and "a small

  handful of statements from former and current mortgage bankers that even the Defendants

  admit are 'cheerleader' declarations." Plaintiffs' Objections at 14. The role of the Court in

  determining whether to grant summary judgment, however, is not to weigh the evidence

  or determine credibility but rather to determine if there are factual issues for trial. The

  magistrate judge correctly applied this standard to the evidence before him and correctly

  found that material issues of fact preclude granting summary judgment to plaintiffs.

  Plaintiffs' objections to the Merits R&R are therefore overruled.




                                                14
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14755 Filed 09/30/09 Page 15 of 31


         C. Defendant's Objections to the Merits R&R

         The defendants have objected to the failure of the magistrate judge to recommend

  summary judgment in their favor because, they argue, the undisputed evidence shows both

  that the Quicken Loans mortgage bankers' primary duty was financial services, not sales,

  and that their duties require the exercise of discretion and independent judgment. They

  also object to the failure of the magistrate judge to grant sufficient deference to an opinion

  letter by the Administrator of the Wage and Hour Division of the Department of Labor that

  opined that mortgage loan officers with similar duties to those of the Quicken Loans

  mortgage bankers qualified for the administrative exemption to the FLSA. As discussed

  below, the Court has reviewed the submissions of the parties and the relevant portions of

  the record and agrees with the magistrate judge that genuine issues of material fact

  preclude granting summary judgment to the defendants, and the Court will therefore

  overrule the defendants' objections.

            1. Was the mortgage bankers' primary duty sales or financial services?

         Defendants argue that the undisputed evidence shows that the Quicken Loans

  mortgage bankers primarily perform financial services duties set forth in 29 C.F.R. §

  541.203(b).3 They point to declarations and affidavits in the record in which Quicken

  employees testify to the nature of the mortgage banker duties, which documents generally

  track the language of 29 C.F.R. § 541.203(b). Defendants point to evidence showing that


     3
      The regulation provides:
   (b) Employees in the financial services industry generally meet the duties requirements
   for the administrative exemption if their duties include work such as collecting and
   analyzing information regarding the customer's income, assets, investments or debts;
   determining which financial products best meet the customer's needs and financial
   circumstances; advising the customer regarding the advantages and disadvantages of
   different financial products; and marketing, servicing or promoting the employer's financial
   products. However, an employee whose primary duty is selling financial products does
   not qualify for the administrative exemption. 29 C.F.R. § 541.203

                                               15
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14756 Filed 09/30/09 Page 16 of 31


  the mortgage bankers spent only 24% of their claimed working time making and receiving

  telephone calls at work, and point out that, under 29 C.F.R. § 541.700(b), employees who

  spend more than 50% of their time performing exempt work will generally satisfy the

  primary duty requirement. They argue that the evidence in the record demonstrates that

  the sales activity engaged in by the mortgage bankers is secondary to performing complex

  financial services necessary to a client's decision to enter into a mortgage. The defendants

  also argue that the Merits R&R ignored facts in the record showing that federal government

  agencies do not classify mortgage bankers (in general) as sales occupations.4

            These objections to the Merits R&R are not supported by the law or in the facts in the

  record. While the defendants are correct that there is evidence in the record supporting

  their argument that the "primary duty" of the mortgage brokers was financial services, there

  is also evidence in the record from which a jury could conclude that the primary duty of the

  mortgage bankers was selling financial products.5 The occupational classifications that

  different agencies of the federal government apply to various jobs are not binding on this

  Court, and the fact that the federal government does not identify "loan officers" as a sales

  occupation in the Standard Occupational Classification System ("SOC"), and the

  Occupational Information Network ("O*NET") does not list "selling" or "persuading

  customers" as a "core" or "supplemental" task of loan officers, does not require summary

  judgment for defendants. All these arguments go to the weight of the evidence, and the


        4
       Defendants also argue that the magistrate judge erred in making a legal distinction
  between the period preceding the revisions of the regulations in 2004 and the regulations
  after they were revised. See Defendants Objections (docket entry 560), p. 14. The Court
  finds this objection without merit because the Merits R&R, while stating the language of the
  regulation before and after revision, explicitly states that the revision did not change the
  standard, and refused to grant summary judgment for defendant under either version.
    5
    "[A]n employee whose primary duty is selling financial products does not qualify for the
  administrative exemption." 29 C.F.R. § 541.203(b)

                                                   16
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14757 Filed 09/30/09 Page 17 of 31


  Court is not charged with determining the weight of the evidence on a summary judgment

  motion.

         Finally, the defendants challenge the failure of the magistrate judge to defer to the

  September 2006 opinion letter of the Administrator of the Wage and Hour Division, which

  concluded that certain mortgage loan officers were exempt under the administrative

  exemption. The defendants cite Fazekas v. The Cleveland Clinic Found. Heath Care

  Ventures, Inc., 204 F.3d 673, 678 (6th Cir. 2000) in support of their argument that the Court

  is required to grant Chevron deference to the September 2006 opinion letter and also grant

  summary judgment on that basis.

         The defendants misread the Fazekas opinion. The Sixth Circuit in Fazekas merely

  held that between an interpretation set forth in a 1992 written opinion of the Acting

  Administrator of the Wage and Hour Division and an interpretation set forth in a 1994

  internal memorandum, the 1992 written opinion was the "controlling interpretation" of the

  Secretary, because it was in writing and signed by the (acting) administrator. Fazekas, 204

  F.3d at 678. The court then went on to apply Skidmore deference, under which an opinion

  of the Administrator of the Wage and Hour has persuasive value if well considered and well

  reasoned. Fazekas, 204 F.3d at 677-78 (citing Skidmore v. Swift & Co., 323 U.S. 134, 140

  (1944)).6 Thus, the magistrate judge correctly concluded that the September 2006 opinion




     6
        To the extent that the Auer and Fazekas opinions can be read to require Chevron
  deference to an opinion letter by the Administrator of the Wage and Hour Division applying
  its regulation to the facts of a hypothetical submitted by the employer, the Court submits
  that they have been overruled by the subsequent Supreme Court opinion of Christensen
  v. Harris County, 529 U.S. 576 (2000), in which the Court held that "[i]nterpretations such
  as those contained in opinion letters - like interpretations contained in policy statements,
  agency manuals, and enforcement guidelines, all of which lack the force of law - do not
  warrant Chevron-style deference." Christensen, 529 U.S. at 586. The Christensen opinion
  was issued three months after Fazekas.

                                               17
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14758 Filed 09/30/09 Page 18 of 31


  letter is only entitled to deference commensurate with its power to persuade, akin to that

  which might be accorded to a district court opinion in a different jurisdiction.

        The defendants argue that the magistrate judge failed to grant the DOL opinion letter

  any deference at all. This is incorrect. The magistrate judge found that even if one were

  to grant deference to the legal opinion contained in the September 2006 letter, there were

  still material issues of fact precluding summary judgment on whether the Quicken mortgage

  bankers job duties were factually identical to the loan officers referenced in the opinion

  letter, and therefore, even if deference were granted, material issues of fact precluded

  summary judgment. The defendants argue that "federal judges in Sixth Circuit courts (and

  elsewhere) regularly grant summary judgment for defendants in FLSA exempt status cases

  based on the regulations and DOL opinion letters." Defendants' Objections to Merits R&R

  at 17 (emphasis original). Defendants are correct, but that is only where there are no

  material factual issues. Cf. Schaefer v. Ind. Michigan Power Co., 358 F.3d 394 (6th Cir.

  2004) (denying summary judgment where there were genuine factual issues concerning

  whether the employee actually exercised discretion). Here, there are factual disputes as

  to the nature of the mortgage bankers duties and whether the job matched the hypothetical

  duties in the September 2006 opinion letter. On this record, the magistrate judge correctly

  denied summary judgment to the defendants.7




    7
     Defendants argue that the correct standard in the Sixth Circuit for determining whether
  an employee exercises discretion and independent judgment is articulated in Renfro v. Ind.
  - Mich. Power Co., 497 F.3d 573 (6th Cir. 2007) ("Renfro II"). The Court has reviewed
  Renfro II and concludes that it is not inconsistent with the magistrate judge's report and
  recommendation.

                                               18
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14759 Filed 09/30/09 Page 19 of 31


           2. Did the mortgage bankers job involve the exercise of discretion
              and independent judgment with respect to matters of significance?

       The third factor of the administrative employee exemption is that the employee's

  "primary duty includes the exercise of discretion and independent judgment with respect

  to matters of significance." 29 C.F.R. § 541.200(a)(3). "[T]he exercise of discretion and

  independent judgment involves the comparison and evaluation of possible courses of

  conduct, and acting or making a decision after the various possibilities have been

  considered" and "'matters of significance' refers to the level of importance or consequence

  of the work performed." 29 C.F.R. § 541.202(a). The question of whether a job requires

  exercise of discretion and independent judgment is to be evaluated "in light of all the facts

  involved in the particular employment situation in which the question arises." 29 C.F.R. §

  541.202(b). The Merits R&R concluded that there were genuine issues of material fact as

  to whether the mortgage banker's job met this factor of the administrative exemption.

       The Court agrees. If the finder of fact credits the defendants' version of the realities

  of the mortgage bankers jobs at Quicken during the relevant time period, it could conclude

  that the mortgage bankers had exercised discretion in performing their job. See, e.g,.

  Farner decl., Exhibit A to Defendants' Objections to Merits R&R, ¶ 49 ("reference tools,

  such as the matrices and LOLA, do not select the appropriate mortgage loan product and

  finance option that meets the client's individual needs."); ¶ 53 ("Mortgage bankers are

  expected, and are trained, to analyze . . . risk factors, and then to determine, in their own

  best judgment, the best course of action.");      Mazey decl., Exhibit B to Defendants'

  Objections to Merits R&R, ¶ 7 ("the analysis undertaken by mortgage bankers is

  complex."); Nelson decl., Exhibit D to Defendants' Objections to Merits R&R, ¶ 10(e) ("It's

  at the Mortgage Banker's discretion which mortgage loan program to recommend to a client

  based on that client's unique financial situation and objectives.").

                                               19
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14760 Filed 09/30/09 Page 20 of 31


       On the other hand, if the finder of fact credits the plaintiffs' version of the realities of

  the mortgage banker jobs at Quicken during the relevant time period, the finder of fact

  could conclude that the mortgage bankers lacked any discretion in performing the job

  because the matrix and various computer programs essentially dictated the product that

  the client was to be offered. See, e.g., Ansari dep., Exhibit N to Defendants' Objections to

  Merits R&R at 59 ("The most important factors on the template you do not change because

  they are fixed. You cannot change the score of the client, you cannot change their income,

  you cannot change their loan to value, their house price, it's fixed, therefore, you're only

  going to offer products that the template gave you.");             McLean dep., Exhibit O to

  Defendants' Objections to Merits R&R at 35 ("The system would tell us what loans they

  qualified for so if they didn't qualify, then they didn't qualify. "); See generally, Exhibit 42 to

  Plaintiff's Motion for Summary Judgment on Liability (Docket number 432) (Plaintiffs'

  declarations). While the defendants have put substantial evidence in the record showing

  that the mortgage bankers received training and were licensed in various states, the trier

  of fact could conclude based upon the plaintiffs' evidence that the mortgage bankers did

  not use this training to actually evaluate the suitability of clients for various mortgage

  products, but rather that task was done by the computers and the matrix, leaving no room

  for the exercise of discretion by individual mortgage bankers. The admissible evidence on

  this point is in conflict. The Court therefore concludes that summary judgment is not

  appropriate on the discretion prong of the test.




                                                  20
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14761 Filed 09/30/09 Page 21 of 31


  III.   Report and Recommendation Granting in Part and Denying in Part Defendants'
         Motion For Summary Judgment on Good Faith Defenses and Lack of Willfulness

         Defendants have also moved for partial summary judgment on the issue of whether

  the defendants were entitled to assert the good faith defenses provided by Sections 10 and

  11 of the Portal to Portal Act and whether they were entitled to the two-year statute of

  limitations contained in 29 U.S.C. § 255. Defendants argued that the undisputed facts

  show that (1) the defendants relied in good faith on the September 2006 Department of

  Labor opinion letter which opined that mortgage bankers with duties similar to the Quicken

  mortgage bankers were exempt under the FLSA, and therefore, under Section 10 of the

  Portal to Portal Act, plaintiffs cannot recover for claims arising after September 8, 2006; (2)

  the defendants did not willfully violate the FLSA in determining that the mortgage bankers

  were exempt, and therefore the defendants are entitled to assert the two-year statute of

  limitations contained in 29 U.S.C. § 255, rather than the three-year statute of limitations that

  applies in the case of willful violations; and (3) defendants acted in good faith and with

  reasonable grounds and therefore the Court should deny liquidated damages under Section

  11 of the Portal to Portal Act.

         The magistrate judge issued a report and recommendation on defendants' motion on

  July 16, 2009 (the "Good Faith R&R") in which he recommended granting in part and

  denying in part defendants' motion for summary judgment. Specifically, the magistrate

  judge recommended that the Court (1) grant partial summary judgment on the first issue

  and find that once the Administrator issued his September 8, 2006 Opinion Letter, the

  defendants relied on it in good faith and thus face no liability on or after that date; (2) grant

  partial summary judgment that, during the limitations period of this suit, the plaintiffs cannot

  prove a willful or reckless violation of the FLSA and that, thus, the two-year limitations

  period applies; and (3) as to the liquidated damages issue, because liquidated damages

                                                 21
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14762 Filed 09/30/09 Page 22 of 31


  becomes an issue only if the jury first determines liability, because the material facts are

  in dispute, and because the statute vests the Court with discretion to award liquidated

  damages even if the defendants show good faith, the Court should defer ruling on whether

  to award liquidated damages until after the trial and should deny the defendants' motion

  without prejudice. Both parties have objected to the Good Faith R&R. The plaintiffs have

  objected to the magistrate judge's recommendation that the Court grant summary judgment

  on the first two issues, and the defendants have objected to the magistrate judge's

  recommendation that the Court deny summary judgment on liquidated damages.

       The plaintiffs argue that the magistrate judge improperly made a credibility

  determination, weighed the evidence, and drew inferences from it in defendants' favor to

  conclude that the defendants were not willful when they ignored the sales nature of the

  mortgage bankers' job and denied them overtime pay. They argue specifically that based

  on the overwhelming evidence in the record of the true sales nature of the mortgage

  bankers' jobs, a reasonable jury could conclude that the defendants' conduct in treating

  them as exempt was willful, and their purported reliance on the September 2006 Opinion

  Letter was not in good faith.

           A. Plaintiffs' Objections to Magistrate Judge's Recommendation that the Court
              Grant Summary Judgment to Defendants on Section 10 of the Portal to Portal
              Act and Good Faith Reliance on September 2006 Opinion Letter

       The Portal to Portal Act creates an affirmative defense in FLSA actions to an employer

  who pleads and proves that "the act or omission complained of was in good faith in

  conformity with and in reliance on any written administrative regulation, order, ruling,

  approval or interpretation of" the Administrator of the Wage and Hour Division. 29 U.S.C.

  § 259. On September 8, 2006, the Administrator of the Wage and Hour Division issued

  an opinion letter in response to a request by the Mortgage Bankers Association ("MBA")


                                              22
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14763 Filed 09/30/09 Page 23 of 31


  (the "September 2006 Opinion Letter"). In that letter, the Administrator was asked for an

  opinion as to whether mortgage loan officers whose job duties were as follows fell under

  the administrative exemption of the FLSA:

        You describe the primary duties of the mortgage loan officers as follows. Mortgage
        loan officers work with the employer's customers to assist them in identifying and
        securing a mortgage loan that is appropriate for their individual financial
        circumstances and is designed to help them achieve their financial goals, including
        home ownership. Mortgage loan officers respond to and follow up on customer
        inquiries (sometimes referred to as "leads") that come from several sources. The loan
        officer will collect and analyze the customer's financial information and assess the
        customer's financial circumstances to determine whether the customer and the
        property qualify for a particular loan. This involves inquiring into the customer's
        income, assets, investments, debt, credit history, prior bankruptcies, judgments, and
        liens, as well as characteristics of the property and similar information. The loan
        officer will also advise the customer about the risks and benefits of the loan
        alternatives, including the options and variables involved. Many mortgage banking
        companies offer multiple mortgage products, resulting in hundreds of loans to choose
        from, requiring specific analysis, evaluation, and advice from the loan officers. Loan
        officers must also stay up-to-date on changes in market conditions.

        Additionally, some loan officers use technological tools to help them serve their
        customer's needs. For example, loan officers may use computer software to assist
        in the underwriting process by helping to evaluate whether the customer qualifies for
        the loan. These products assist the loan officer in communicating a loan
        prequalification, loan pre-approval, or qualified loan approval. You emphasize,
        however, that these tools do not substitute for the discretion and judgment required
        of the loan officer, and the loan officer is responsible for recommending the best
        products for the customer.

  September 8, 2006 Opinion Letter, p. 1-2 (Docket number 436, Exhibit A).               The

  hypothetical mortgage loan officers also had sales as a component of their duties, but less

  than 50% of their working time was spent on "customer-specific persuasive sales activity."

  Id., p. 2.

        The September 2006 Opinion Letter concluded that mortgage loan officers would

  satisfy the administrative exemption of 29 U.S.C. § 213(a)(1). The letter concluded that,

  based on the description provided, the mortgage loan officers' primary duty would not be

  sales and that they also exercised sufficient discretion and independent judgment to qualify


                                               23
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14764 Filed 09/30/09 Page 24 of 31


  under 29 C.F.R. § 541.200(a). The Administrator noted, however, that if "based on all the

  facts in a particular case, a mortgage loan officer's primary duty is selling mortgage loans,

  the mortgage loan officer will not qualify for the administrative exemption." September

  2006 Opinion Letter, p. 5, n.3.

       The magistrate judge recommended in the Good Faith R&R that the Court find that

  the facts in the record showed that the defendants acted in good faith reliance on this

  opinion as required by 29 U.S.C. § 259 and therefore recommended that grant partial

  summary judgment to the defendants as to any claim arising after September 8, 2006.

       Plaintiffs argue that the magistrate judge erred in recommending that the Court grant

  summary judgment because, they assert, there are genuine issues of material fact as to

  whether the job duties of the mortgage bankers was "in conformity with" the September

  2006 Opinion Letter and whether the defendants relied in "good faith" on the September

  2006 Opinion Letter. Plaintiffs point to evidence in the record showing that the actual job

  duties of the mortgage bankers had a significant sales component, which was not

  discussed in the September 2006 Opinion Letter, and they argue that the defendants

  therefore were not acting in conformity with the September 2006 Opinion Letter in treating

  the mortgage bankers as exempt from the overtime requirements of the FLSA. The

  plaintiffs also argue that the magistrate judge inappropriately made credibility

  determinations in concluding as a matter of law that David Carroll, the person at Quicken

  responsible for determining the applicability of the FLSA, relied on the September 2006

  Opinion Letter in good faith.

       The Court finds that the plaintiffs' objections to this portion of the Good Faith R&R are

  without merit. In Marshall v. Baptist Hosp., 668 F.2d 234 (6th Cir. 1981), the Sixth Circuit

  examined the burden of proof required for an employer to assert the good faith defense


                                               24
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14765 Filed 09/30/09 Page 25 of 31


  provided by the Portal to Portal Act. The Marshall court stated that in view of the language

  and the legislative history of the Portal to Portal Act, "courts should be hesitant to impose

  retroactive minimum wage liability on employers in the face of an administrative

  interpretation which the employer could plausibly interpret as insulating him from liability,"

  and that "in close cases we should consider the expectations of the parties and the

  reasonableness of the employer's actions in light of the administrative interpretation in

  question." Marshall, 668 F.2d at 238. The Court agrees with the magistrate judge's

  determination that here, the undisputed facts in the record show that as a matter of law the

  defendants were aware of and relied upon the September 2006 Opinion Letter, the job

  tasks of the Quicken mortgage bankers were sufficiently similar to those outlined in the

  opinion letter to make reliance on that letter plausible, and there is no evidence in the

  record to rebut the evidence submitted by the defendants that they objectively and

  subjectively relied in good faith on the opinion letter.

       The Court notes that the defendants have submitted the declaration of David Carroll,

  Quicken's Vice President of Administration. Carroll testified that he considered and in good

  faith relied upon on the September 2006 Opinion Letter in determining that the mortgage

  bankers met the requirements of the FLSA's administrative exemption. Carroll Decl., ¶¶ 22-

  23, Exhibit E, Defendants' Motion For Summary Judgment on Good Faith. This part of the

  declaration is the only direct evidence of the good faith (or bad faith) of the defendants in

  the record relating to Quicken's reliance on the September 2006 Opinion Letter.

       The plaintiffs' main argument in opposition seems to be that they can use the evidence

  in the record that demonstrates the "sales" nature of the mortgage bankers' job as

  circumstantial evidence to rebut David Carroll's testimony that he considered the

  September 2006 Opinion Letter and that he in good faith concluded that the mortgage


                                                25
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14766 Filed 09/30/09 Page 26 of 31


  bankers' jobs conformed with the letter -- and that he therefore relied on the letter to

  continue to treat the mortgage bankers as exempt from the FLSA overtime requirements.

  As discussed above in the section of this order dealing with the Merits R&R, the magistrate

  judge concluded, and the Court thinks appropriately so, that there are genuine issues of

  fact as to whether the administrative exemption applies on the facts of this case. Given

  that finding, the defendants could as a matter of law "plausibly" rely on the September 2006

  Opinion Letter stating that the administrative exemption applied to loan officers that

  performed similar tasks to the Quicken mortgage bankers whose jobs are at issue here.

  The plaintiffs have failed to come forward with any affirmative evidence of bad faith to

  controvert the defendants' evidence of good faith. In light of this, the Court finds that the

  plaintiffs have failed to carry their burden under Rule 56 of coming forward with specific

  facts showing a genuine issue for trial on the defendants' affirmative defense that they

  acted in reliance on and in good faith conformity with the September 2006 Opinion Letter.

  The Court therefore overrules plaintiff's objections as to this portion of the Good Faith R&R

  and grants summary judgment to the defendants on the issue.

           B. Plaintiffs' Objections to Magistrate Judge's Recommendation
              that the Court Grant Summary Judgment to Defendants that
              the Violations were not willful or reckless and therefore
              the Two-Year Limitations Period in 29 U.S.C. §255(a) applies

       The plaintiffs have also objected to the portion of the Good Faith R&R in which the

  magistrate judge recommends that the Court find that Quicken's decision to treat the

  mortgage bankers as exempt was not willful or reckless and that therefore the two-year

  statute of limitations applies. The Court has reviewed the plaintiffs' objection and the facts

  in the record and finds that the objections are without merit.

       The general statute of limitations in FLSA actions is two years. The statute provides,

  however, that the limitations period is extended to three years when "the cause of action

                                               26
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14767 Filed 09/30/09 Page 27 of 31


  aris[es] out of a willful violation." 29 U.S.C. § 255(a). The burden is on the plaintiffs to

  prove that the defendants either knew or showed reckless disregard for whether they were

  violating the FLSA by failing to pay the mortgage bankers overtime. McLaughlin v.

  Richland Shoe Co., 486 U.S. 128, 133 (1988)

       In McLaughlin, the Supreme Court addressed the applicable burden of proof for

  actions asserting willful violations of the FLSA, and found that "[i]f an employer acts

  reasonably in determining its legal obligation, its action cannot be deemed willful.... If an

  employer acts unreasonably, but not recklessly, in determining its legal obligations, then

  ... it should not be ... considered [willful.]" See Hillstrom v. Best Western TLC Hotel, 354

  F.3d 27, 33 (1st Cir. 2003) (quoting McLaughlin, 486 U.S. at 135, n.13). The Court found

  that Congress, in creating the two separate limitations periods, had "intended to draw a

  significant distinction between ordinary violations and willful violations." McLaughlin, 486

  U.S. at 132. Given this precedent, the Court holds that the magistrate judge was correct

  in finding that the evidence in the record does not, as a matter of law, support a finding of

  "willful conduct" and that summary judgment is appropriate here. The evidence establishes

  that Quicken's attorney reviewed the law, reviewed the mortgage bankers duties, consulted

  with legal counsel, and only afterwards concluded that the mortgage bankers could be

  classified as exempt from the FLSA overtime requirements. Based on this testimony, and

  the lack of affirmative evidence of bad faith or willfulness, the Court finds the plaintiffs have

  failed to carry their burden and therefore the Court finds that the ordinary two-year statute

  of limitations applies to the conduct alleged in this actions, rather than the three-year

  statute of limitations that applies in the case of willful or reckless conduct.

       Plaintiffs rely primarily on the defendants' knowledge of opinion letters issued by lower

  level department of labor officials in 1999 and 2001, in which the DOL opined that mortgage


                                                 27
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14768 Filed 09/30/09 Page 28 of 31


  loan officers did not qualify for exempt status under the FLSA, and of Casas v. Conseco

  Finance Corp., 2002 WL 507059 (D. Minn. 2002). The Canas opinion was an opinion of

  the federal district court in Minnesota that granted summary judgment to the plaintiffs on

  FLSA liability for mortgage loan officers whose jobs were substantially similar to those of

  the Quicken mortgage bankers at issue here. The 1999 opinion letter stated that the

  hypothetical loan officers would not qualify for the exemption because they were engaged

  in carrying out the employer's day to day activities rather than determining the overall

  course and policies of the business and that the position did not appear to require the

  exercise of discretion and independent judgment. The 2001 opinion letter, issued in

  response to a request for reconsideration of the May 17, 1999 opinion, modified the earlier

  opinion letter to the extent that the latter concluded that the hypothetical loan officers'

  primary duty was the performance of work directly related to the management policies or

  general business operations of the employer or the employer's customers, rather than

  sales, but still maintained that the loan officers did not exercise discretion and independent

  judgment and were therefore not exempt. The plaintiffs argue that in light of these facts,

  and in light of the magistrate judge's recommendation that this Court deny summary

  judgment to defendants on liability -- which implicitly recognizes that a reasonable jury

  could find the defendants violated the FLSA -- and that material factual issues precluded

  the Court granting summary judgment on the two-year statute of limitations.

       The Court finds the plaintiffs' objections here to be without merit. The Canas opinion

  was a trial court opinion in another circuit, and the 1999 and 2001 opinion letters were

  issued by lower level officials in the Wage and Hour Division and were in some respects

  distinguishable. Given the heavy burden set by the McLaughlin court to show willfulness,

  the magistrate judge did not err in finding that no reasonable jury could find the


                                               28
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14769 Filed 09/30/09 Page 29 of 31


  defendants's actions willful or reckless for purposes of 29 U.S.C. § 255(a). The Court

  therefore overrules plaintiffs' objections to this portion of the Good Faith R&R and grants

  partial summary judgment in accord with its findings.

       C. Defendants' Objections to the Recommendation of the Magistrate Judge
          that the Court Deny Summary Judgment to Defendants on Liquidated Damages

       Finally, the defendants object to the portions of the Good Faith R&R in which the

  magistrate judge recommends that the Court deny summary judgment to the defendants

  on the issue of liquidated damages.

       In addition to paying past-due overtime compensation, the FLSA generally requires

  an employer who has violated the act to pay an equal amount as liquidated damages. 29

  U.S.C. § 216(b). The Act provides, however, that if an employer "shows to the satisfaction

  of the court that the act or omission giving rise to such action was in good faith and that he

  had reasonable grounds for believing that his act or omission was not in violation of the

  [FLSA], the court may, in its sound discretion, award no liquidated damages or award any

  amount thereof not to exceed the amount specified in section 216 of this title." 29 U.S.C.

  §260. The burden on the employer to avoid liquidated damages is "substantial," and if the

  employer fails to carry its burden of showing "to the satisfaction of the court" that he acted

  in good faith and with reasonable grounds, the court must award liquidated damages.

  Martin v. Ind. Mich. Power Supply Co., 381 F.3d 574, 584 (6th Cir. 2004).

       The defendants moved for summary judgment on all claims for liquidated damages

  based upon this statutory provision. In the Good Faith R&R, the magistrate judge

  recommended that the Court deny defendants' motion because (1) liquidated damages

  becomes an issue only if the jury finds liability, (2) a reasonable jury could conclude on the

  evidence before the Court that the defendants may have failed to act in good faith prior to

  the issuance of the September 2006 Opinion Letter, and (3) the Court has the discretion

                                               29
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14770 Filed 09/30/09 Page 30 of 31


  to award liquidated damages under 29 U.S.C. § 260 even if it or the jury find the

  defendants acted in good faith, making summary judgment particularly inappropriate.

       The Court has reviewed de novo the defendants' objections to the Good Faith R&R

  in light of the evidence in the record and finds their objections to be without merit. The

  magistrate judge was correct that there is evidence in the record from which the Court

  could find that the defendants did not act in good faith in applying the FLSA, at least at

  some point in time during the limitations period but prior to receiving the September 2006

  Opinion Letter. The magistrate judge was also correct in suggesting that the question of

  defendants' good faith at various points in time would more appropriately be made by the

  Court after a full trial on the matter, with the opportunity to evaluate the credibility of all the

  witnesses.    Finally, the magistrate also correctly stated that summary judgment is

  inappropriate here because the Court has the discretion to award liquidated damages even

  if the defendants carry their "substantial" burden of demonstrating that they acted in good

  faith and with reasonable grounds. The defendants have cited no authority showing that

  the Court would abuse its discretion in granting liquidated damages on these facts. The

  Court will therefore overrule defendants' objections to the portion of the Good Faith R&R

  recommending that the Court deny summary judgment to the defendants on their defense

  to liquidated damages and will adopt and affirm that portion of the Good Faith R&R.

                                          CONCLUSION

       ACCORDINGLY, IT IS HEREBY ORDERED that the Order Granting Plaintiffs' Motion

  to Strike Undisclosed Witness Statements and Order Granting in Part Plaintiffs' Motion to

  Exclude Defendants' Expert Report (D/E 530) is hereby AFFIRMED and the defendants'

  objections are OVERRULED;




                                                  30
Case 2:04-cv-40346-SJM-MJH ECF No. 571, PageID.14771 Filed 09/30/09 Page 31 of 31


       IT IS FURTHER ORDERED that the Report and Recommendation Denying Plaintiffs'

  Motion for Partial Summary Judgment on Liability and Granting in Part and Denying in Part

  Defendants' Motion for Summary Judgment on the Merits (D/E 556) is hereby ACCEPTED

  and ADOPTED as the opinion of this Court, the objections by the plaintiffs and the

  defendants are OVERRULED, Plaintiffs' Motion for Summary Judgment on Liability is

  DENIED and Defendants' Motion for Summary Judgment on the Merits is GRANTED IN

  PART AND DENIED IN PART; and

       IT IS FURTHER ORDERED that the Report and Recommendation Granting in Part

  and Denying in Part Defendants' Motion for Summary Judgment on Good Faith Defenses

  and Lack of Willfulness (D/E 555) is ACCEPTED and ADOPTED as the opinion of this

  Court, the objections thereto by the plaintiffs and the defendants are OVERRULED, and

  Defendants' Motion for Summary Judgment on Good Faith Defenses and Lack of

  Willfulness is GRANTED IN PART AND DENIED IN PART.



                                    s/Stephen J. Murphy, III
                                    STEPHEN J. MURPHY, III
                                    United States District Judge

  Dated: September 30, 2009

  I hereby certify that a copy of the foregoing document was served upon the parties and/or
  counsel of record on September 30, 2009, by electronic and/or ordinary mail.

                                    Alissa Greer
                                    Case Manager




                                             31
